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     Federal Defender
 2   JEROME PRICE, CA Bar # 282400
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 5
     Attorneys for Defendant
 6   LUIS FERNANDO GRANADOS

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                 )   Case No. 1:13-cr-00411 AWI-BAM-2
                                                )
11                          Plaintiff,          )   STIPULATION TO CONTINUE STATUS
                                                )   CONFERENCE; ORDER THEREON
12    vs.                                       )
                                                )   Date: March 24, 2014
13    GRANADOS, et al                           )   Time: 1:00 p.m.
                                                )   Judge: Barbara A. McAuliffe
14                          Defendant.          )
                                                )
15                                              )

16          IT IS HEREBY STIPULATED by and between the parties, through their respective
17   counsel, Assistant United States Attorney, Brian K. Delaney, Counsel for Plaintiff, Assistant

18   Federal Defender, Jerome Price, Counsel for Defendant, Luis Fernando Granados, and David

19   Torres, Counsel for Defendant, Marco Antonio Granados, that the status conference hearing

20   currently set for February 10, 2014, at 1:00 p.m., may be rescheduled to March 24, 2014, at 1:00

21   p.m.

22          Defense counsel, Jerome Price, will be unavailable and out of the country on February

23   10, 2014. Additionally, defense counsel is still reviewing discovery with client, who was

24   recently released from pretrial custody as well as entering plea discussions with government.

25   The requested continuance will conserve time and resources for both counsel and the court and

26   provide an opportunity for the parties to give the court a meaningful status update. The parties

27   agree that time shall be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B) in that the ends

28   of justice served by the continuance outweigh the interest of the public and the defendant in a
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 1   speedy trial.
 2                                                        Respectfully submitted,
 3                                                        BENJAMIN B. WAGNER
 4                                                        United States Attorney
 5
     Dated: February 5, 2014                              /s/ Brian K. Delaney
 6                                                        BRIAN K. DELANEY
                                                          Assistant United States Attorney
 7                                                        Attorney for Plaintiff
 8
                                                          HEATHER E. WILLIAMS
 9                                                        Federal Defender
10   Dated: February 5, 2014                              /s/ Jerome Price
                                                          JEROME PRICE
11                                                        Assistant Federal Defender
                                                          Attorneys for Defendant
12                                                        LUIS FERNANDO GRANADOS
13
                                                          LAW OFFICES OF DAVID A. TORRES
14
                                                          /s/ David Torres
15                                                        DAVID A. TORRES
                                                          Attorney for Defendant
16                                                        MARCO ANTONIO GRANADOS
17
18                                              ORDER

19          IT IS SO ORDERED. For the reasons set forth above, the continuance requested is

20   granted for good cause. 2nd STATUS CONFERENCE is continued from February 10, 2014 to

21   March 24, 2014 at 1:00 PM before Judge McAuliffe. The Court finds that the interest of justice

22   outweighs the interests of the public and defendant in a speedy trial, and time is excluded

23   pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B).
     IT IS SO ORDERED.
24
25      Dated:       February 5, 2014                         /s/ Barbara A. McAuliffe             _
                                                       UNITED STATES MAGISTRATE JUDGE
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